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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
METROPOLITAN WASHINGTON CHAPTER, )
ASSOCIATED BUILDERS AND                    )
CONTRACTORS, INC., et al.,                 )
                                           )
                        Plaintiffs         )
                                           ) No. 12-CV-00853 (EGS)
      v.                                   )
                                           )
DISTRICT OF COLUMBIA,                      )
                                           )
                        Defendant.         )
                                           )

          PLAINTIFFS' NOTIFICATION OF SUPPLEMENTAL AUTHORITY

       Plaintiffs Metropolitan Washington Chapter, Associated Builders and Contractors, Inc.,

Miller & Long Concrete Construction, Inc., Hawkins Electrical Construction of DC, LLC,

Warren N. Weems, Tron Hill, Sr., Emmett Morris, Jr. and Floyd Armwood ("Plaintiffs"), hereby

submit this Notification of Supplemental Authority.

       On October 5, 2012, the United States Supreme Court granted the Petition for Writ of

Certiorari in the case of McBurney v. Young, 667 F.3d 454 (4th Cir. 2012) (attached hereto as

Exhibit A). In McBurney, the United States Court of Appeals for the Fourth Circuit upheld a

provision of the Virginia Freedom of Information Act that denied non-Virginians the right to

access public records that were freely available to Virginia citizens. In the case before this

Court, the District of Columbia relied upon McBurney in its Motion to Dismiss because the court

had rejected the plaintiffs' challenge to the Virginia law under the Privileges and Immunities

Clause. The question presented by petitioners to the United States Supreme Court is as follows:

"Under the Privileges and Immunities Clause of Article IV and the dormant Commerce Clause of

the United States Constitution, may a state preclude citizens of other states from enjoying the
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same right of access to public records that the state affords its own citizens?" (McBurney v.

Young, No. 12-17 at i) (attached hereto as Exhibit B).

       Plaintiffs contend that a review of the McBurney v. Young Petition for a Writ of Certiorari

and any resulting opinion by the United States Supreme Court with respect to the Privileges and

Immunities Clause and the Commerce Clause would assist the Court in its consideration of

Defendant's Motion to Dismiss and the balance of this case. In any event, the Supreme Court's

grant of certiorari needs to be brought to the attention of the Court and the District.


Dated: October 10, 2012                        Respectfully submitted,


                                                               /s/
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                                 CERTIFICATE OF SERVICE


               I hereby certify that on October 10, 2012, I electronically filed the Notication of
Supplemental Authority with the Clerk of Court for the United States District Court for the
District of Columbia by using the ECM-ECF System.

                I certify that all participants in the case are registered ECM-ECF users and that
service will be accomplished by the ECM-ECF System.


                                                                   /S/
                                                             Karen Boyd-Williams




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